               UNITED STATES DISTRICT COURT
              EASTERN DISTRICT OF WISCONSIN

UNITED STATES OF AMERICA

                       Plaintiff,                  Case No. 20-CR-32-1-JPS

v.

MARQUIS TOWNSEND,
                                                                  ORDER
                       Defendant.



        On October 23, 2020, the Court granted the Government’s motion for

a preliminary order of forfeiture as to certain property of Defendant.

(Docket #34). The Government now seeks to convert that preliminary order

into a final order pursuant to 21 U.S.C. § 853. (Docket #61). The Court,

having reviewed the Government’s submissions and the relevant

authorities, and being satisfied that the required notice has been given, see

(Docket #62, #62-1), will grant the motion.

        Accordingly,

        IT IS ORDERED that the Government’s motion for entry of a final

order of forfeiture (Docket #61) be and the same is hereby GRANTED; and

        IT IS FURTHER ORDERED that, pursuant to 21 U.S.C. § 853, the

United States of America has clear title to the following property and may

dispose of it according to law: the approximately $169,108 in United States

currency seized from a safe located at 6XXX N. Milwaukee River Parkway,

Glendale, on or about January 28, 2020.




     Case 2:20-cr-00032-JPS Filed 12/03/21 Page 1 of 2 Document 63
   Dated at Milwaukee, Wisconsin, this 3rd day of December, 2021.

                             BY THE COURT:



                             ____________________________________
                             J. P. Stadtmueller
                             U.S. District Judge




                          Page 2 of 2
Case 2:20-cr-00032-JPS Filed 12/03/21 Page 2 of 2 Document 63
